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                                     SETTLEMENT AGREEMENT

        THIS SETTLEMENT AGREEMENT (the “Agreement”), dated as of February 1, 2019,
is entered into between:

Wilmington Trust Company, (the “GUC Trust Administrator”) solely in its capacity as trustee
for and administrator of the Motors Liquidation Company General Unsecured Creditors Trust (and
as defined in Section 2.25 herein, the “GUC Trust”)

-and-

The Signatory Plaintiffs, as hereinafter defined (the Signatory Plaintiffs and the GUC Trust, the
“Parties”).

                                                 PREAMBLE1

Background: The Old GM Bankruptcy.

        A.     Beginning on the Petition Date, Motors Liquidation Company f/k/a General Motors
Corporation, a Delaware Corporation (“Old GM”), and certain of its affiliated companies
(together with Old GM, the “Debtors”) commenced the Old GM Bankruptcy Case under chapter
11 of the Bankruptcy Code;

        B.      Also on the Petition Date, the Sellers entered into an agreement pursuant to which
certain assets of the Sellers, including the brand “General Motors,” were to be sold to NGMCO,
Inc., n/k/a General Motors LLC, a Delaware corporation (“New GM”);

        C.     As of July 5, 2009, the AMSPA was further and finally amended pursuant to a
Second Amendment to the Amended and Restated Master Sale Purchase Agreement to, among
other things, modify provisions in the original sale agreement relating to the issuance by New GM
of a purchase price adjustment consisting of shares (the “Adjustment Shares”) of New GM
Common Stock in respect of Allowed General Unsecured Claims;

        D.      Pursuant to the AMSPA, if the Bankruptcy Court issues an order estimating the
aggregate allowed General Unsecured Claims against the Sellers at an amount exceeding thirty-
five billion dollars ($35,000,000,000), then New GM must, within five (5) business days of entry
of such order, issue the Adjustment Shares;

        E.      If the Bankruptcy Court issues an Estimation Order estimating the aggregate
allowed General Unsecured Claims against the Sellers at an amount at or exceeding forty-two
billion dollars ($42,000,000,000), New GM must issue the maximum amount of Adjustment
Shares (30,000,000 shares);


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  Capitalized terms used, but not otherwise defined in the Preamble shall have the meanings ascribed to such terms
in the Definitions section of this Agreement.

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       F.      On July 5, 2009, the AMSPA was approved pursuant to a Bankruptcy Code section
363 order (the “Sale Order”);

       G.       Pursuant to the Sale Order, New GM became vested in substantially all of the
material assets of the Sellers;

         H.   On July 10, 2009 (the “Closing Date”), the 363 Sale was consummated;

       I.      On September 16, 2009, the Bar Date Order was entered establishing November
30, 2009 (the “Bar Date”) as the deadline to file proofs of claim against the Debtors;

      J.      On March 29, 2011, the Bankruptcy Court issued an order (the “Confirmation
Order”) confirming the Plan;

        K.     The Plan created the GUC Trust pursuant to the GUC Trust Agreement, as a post-
confirmation successor to the Debtors pursuant to Section 1145 of the Bankruptcy Code, to, inter
alia, administer the GUC Trust Assets;

       L.     The Plan, GUC Trust Agreement, MSPA and Side Letter provided the GUC Trust
with the sole, exclusive right to object to and settle General Unsecured Claims, pursue an
Estimation Order, and request and receive the Adjustment Shares;

         M.   On March 31, 2011 (the “Effective Date”), the Plan was declared effective;

      N.     As of December 31, 2018, the total allowed General Unsecured Claims are
$31,855,431,837;

The Recalls and the Multi-District Litigation.

      O.     In or around February and March of 2014, New GM issued a recall, NHTSA Recall
Number 14V-047, pertaining to 2,191,525 vehicles with an ignition switch defect (the “Ignition
Switch Defect”);

        P.      In or around June, July and September of 2014, New GM issued four additional
recalls pertaining to approximately 10 million vehicles with defective ignition switches, NHTSA
Recall Numbers 14V-355, 14V-394, 14V-540 and 14V-400;

       Q.      In or around March of 2014, New GM issued a recall, NHTSA Recall Number 14V-
118, pertaining to approximately 1.2 million vehicles with defective side airbags;

       R.      In or around March of 2014, New GM issued a recall, NHTSA Recall Number 14V-
153, pertaining to over 1.3 million vehicles with defective power steering;

     S.     Commencing after the issuance of the recalls, numerous lawsuits were filed against
New GM, individually or on behalf of putative classes of persons, by, inter alia,:




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         a. plaintiffs asserting economic loss claims who, prior to the Closing Date, owned or
            leased a vehicle with an ignition switch defect included in NHTSA Recall No. 14V-
            047 (the “Ignition Switch Plaintiffs”);

         b. plaintiffs asserting economic loss claims who, prior to the Closing Date, owned or
            leased a vehicle with defects in ignition switches, side airbags, or power steering
            included in NHTSA Recall Nos. 14V-355, 14V-394, 14V-400, 14V-118 and 14V-153
            (the “Non-Ignition Switch Plaintiffs” and, together with the Ignition Switch Plaintiffs,
            the “Economic Loss Plaintiffs”);

         c. plaintiffs asserting personal injury or wrongful death claims based on or arising from
            an accident that occurred before the Closing Date involving an Old GM vehicle that
            was later subject to an ignition switch defect included in NHTSA Recall No. 14V-047
            (the “Ignition Switch Pre-Closing Accident Plaintiffs”); and

         d. plaintiffs asserting personal injury or wrongful death claims based on or arising from
            an accident that occurred before the Closing Date involving an Old GM vehicle that
            was later subject to NHTSA Recall Nos. 14V-355, 14V-540, 14V-394 or 14V-400 due
            to defects in ignition switches, side airbags, or power steering (the “Non-Ignition
            Switch Pre-Closing Accident Plaintiffs” and together with the Ignition Switch Pre-
            Closing Accident Plaintiffs, the “Pre-Closing Accident Plaintiffs”),

         T.       Many of the cases commenced against New GM were consolidated in a multi-
district litigation (the “GM MDL”) pending in the United States District Court for the Southern
District of New York before the Hon. Jesse M. Furman (the “District Court”);

The Motions to Enforce Litigation.

        U.       In or around April and August of 2014, New GM sought to enjoin such lawsuits
against New GM by filing motions to enforce the Sale Order with respect to: (i) Ignition Switch
Plaintiffs; (ii) Ignition Switch Pre-Closing Accident Plaintiffs; and (iii) Non-Ignition Switch
Plaintiffs (the “Motions to Enforce”);

         V.     Following the filing of the Motions to Enforce, the Bankruptcy Court identified
initial issues to be addressed on the Motions to Enforce with respect to the Ignition Switch
Plaintiffs and Ignition Switch Pre-Closing Accident Plaintiffs;

       W.      Following briefing and argument, the Bankruptcy Court issued a Decision on April
15, 2015, and a Judgment implementing the Decision on June 1, 2015;

         X.     In the Decision and the Judgment, the Bankruptcy Court ruled that “based on the
doctrine of equitable mootness, in no event shall assets of the GUC Trust held at any time in the
past, now or in the future (collectively, the ‘GUC Trust Assets’) (as defined in the Plan) be used
to satisfy any claims of the Plaintiffs”;

       Y.      On July 13, 2016, the Second Circuit issued an opinion on direct appeal of the
Decision and Judgment, vacating the Bankruptcy Court’s equitable mootness ruling as an advisory
opinion and further determining that (i) there was no clear error in the Bankruptcy Court’s factual

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finding that Old GM knew or reasonably should have known about the ignition switch defect prior
to bankruptcy, (ii) Old GM should have provided direct mail notice to vehicle owners, and (iii)
individuals with claims arising out of the ignition switch defect were entitled to notice by direct
mail or some equivalent, as required by procedural due process;

        Z.       Following the issuance of the Second Circuit’s mandate, the Bankruptcy Court
identified initial issues to be addressed on remand, including whether the Economic Loss Plaintiffs
or Pre-Closing Accident Plaintiffs satisfy the requirements for authorization to file late proof(s) of
claim against the GUC Trust and/or whether such claims are equitably moot;

        AA. Pursuant to an Order to Show Cause, on December 22, 2016, the Economic Loss
Plaintiffs and certain Pre-Closing Accident Plaintiffs who had not received notice of the Order to
Show Cause, filed motions [ECF Nos. 13806, 13807] for authority to file late proofs of claim,
including late class proofs of claim; on July 28, 2017, certain Pre-Closing Accident Plaintiffs filed
a motion [ECF No. 14018] for authority to file late proofs of claim, as supplemented on August
10, 2017, September 19, 2017, December 12, 2017 and July 19, 2018 [ECF Nos. 14046, 14112,
14195, 14346]; and on July 27, 2018, certain Pre-Closing Accident Plaintiffs filed a motion [ECF
No. 14350] for authority to file late proofs of claim (collectively, the “Late Claims Motions”);

       BB. Pursuant to the Order to Show Cause, certain other Plaintiffs have filed joinders to
the Late Claims Motions [ECF Nos. 13811, 13818];

        CC. In or around March 2017, additional briefs were filed by Ignition Switch Plaintiffs,
certain Ignition Switch Pre-Closing Accident Plaintiffs, New GM, and jointly by the GUC Trust
and the Participating Unitholders on the Applicability of the Pioneer Issue and the Tolling Issue
(as those terms are defined in the Order Establishing, Inter Alia, Briefing Schedule for Certain
Issues Arising From Late Claim Motions Filed by Ignition Switch Plaintiffs, Non-Ignition Switch
Plaintiffs and Certain Ignition Switch Pre-Closing Accident Plaintiffs [ECF No. 13869]);

       DD. On July 15, 2016 and June 30, 2017, Judge Furman issued opinions in the GM
MDL explaining that the “benefit-of-the-bargain defect theory” of economic loss damages
“compensates a plaintiff for the fact that he or she overpaid, at the time of sale, for a defective
vehicle. That form of injury has been recognized by many jurisdictions.” See In re Gen. Motors
LLC Ignition Switch Litig., 14-MD-2543 (JMF) (S.D.N.Y. June 30, 2017) [ECF Nos. 3119, 4175].
On April 3, 2018, Judge Furman denied without prejudice, New GM’s motion for summary
judgment with respect to Plaintiffs’ claims for “benefit-of-the-bargain” damages [ECF No. 5310];

        EE.      On April 24, 2018, the Ignition Switch Plaintiffs and certain Non-Ignition Switch
Plaintiffs filed amended Proofs of Claim in connection with the Late Claims Motions [ECF No.
14280];

       FF.   On May 25, 2018, certain Pre-Closing Accident Plaintiffs filed a supplemental Late
Claims Motion (the “Supplemental Late Claims Motion”) [ECF No. 14325];

       GG. Based upon the complexity of the issues in dispute, including, but not limited to the
remaining 2016 Threshold Issues (the “Disputed Issues”), the potential for extensive, time
consuming and expensive litigation regarding the Disputed Issues, the inherent uncertainty that
would be attendant to litigating them, and the impact that an adverse judgment would have on the
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GUC Trust, coupled with the desire to resolve the final potential claims against the GUC Trust,
address any due process violations and attendant issues relating to the Recalls, and after review of
the expert reports and proffer of evidence from the Ignition Switch Plaintiffs, Non-Ignition Switch
Plaintiffs, and Ignition Switch Pre-Closing Accident Plaintiffs, as well as expert reports and other
materials from New GM, the GUC Trust agrees, as part of the settlement of the Disputed Issues,
to seek the issuance of the Estimation Order as provided for pursuant to Section 3.2(c) of the
AMSPA, Section 7.3 of the Plan, the Side Letter and Section 5.1 of the GUC Trust Agreement.

                                         AGREEMENT

        In settlement of the Disputed Issues between the GUC Trust and the Plaintiffs, the Parties
agree to the following:

1.     Preamble. The Preamble constitutes an essential part of the Agreement and is
incorporated herein.

2.     Definitions. The following terms used herein shall have the respective meanings defined
below (such meanings to be equally applicable to both the singular and plural):

        2.1    Adjustment Shares shall have the meaning ascribed to such term in the Preamble.
Solely in the event that the Bankruptcy Court enters the Estimation Order, the term “Adjustment
Shares” as used herein shall be deemed to exclude any amounts due and payable on account of
taxes or withholding.

        2.2    Adjustment Shares Waiver Provision shall have the meaning ascribed to such
term in Section 5.4 hereto.

        2.3    AMPSA means that certain Amended and Restated Master Sale and Purchase
Agreement, by and among General Motors Corporation and its debtor subsidiaries, as Sellers, and
NGMCO, Inc., as successor in interest to Vehicle Acquisition Holdings LLC, a purchaser
sponsored by the U.S. Treasury, as Purchaser, dated as of June 26, 2009, together with all related
documents and agreements as well as all exhibits, schedules, and addenda thereto, as amended,
restated, modified, or supplemented from time to time.

       2.4     Bar Date Order means that Order Pursuant to Section 502(b)(9) of the Bankruptcy
Code and Bankruptcy Rule 3003(c)(3) Establishing the Deadline for Filing Proofs of Claim
(Including Claims Under Bankruptcy Code Section 503(B)(9)) and Procedures Relating Thereto
and Approving the Form and Manner of Notice Thereof, dated Sept. 16, 2009 [ECF No. 4079]
entered by the Bankruptcy Court establishing the Bar Date.

         2.5   Bar Date shall have the meaning ascribed to such term in the Preamble.

         2.6   Bankruptcy Code means title 11 of the United States Code.

        2.7    Bankruptcy Court means the United States Bankruptcy Court for the Southern
District of New York.

         2.8   Closing Date shall have the meaning ascribed to such term in the Preamble.

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        2.9      Co-Lead Counsel means, for purposes of this Agreement, Steve W. Berman of
Hagens Berman Sobol Shapiro LLP and Elizabeth Cabraser of Lieff, Cabraser, Heimann &
Bernstein, LLP, who were individually and collectively appointed to represent all economic loss
plaintiffs in the GM MDL by Order No. 8, In re Gen. Motors LLC Ignition Switch Litig., No. 14-
MD-2543 (S.D.N.Y. Aug. 15, 2014) [ECF No. 249], or any other or replacement counsel appointed
to represent any Ignition Switch or Non-Ignition Switch Plaintiffs in the GM MDL.

         2.10   Communication shall have the meaning ascribed to such term in Section 3.15.

         2.11   Confirmation Order shall have the meaning ascribed to such term in the Preamble.

         2.12   Debtors shall have the meaning ascribed to such term in the Preamble.

       2.13 Decision means the Decision on Motion to Enforce Sale Order, entered April 15,
2015 [ECF No. 13109] by Judge Robert E. Gerber in the Bankruptcy Court, published as In re
Motors Liquidation Company, 529 B.R. 510 (Bankr. S.D.N.Y. 2015), as corrected in Errata Order
RE: Decision on Motion to Enforce Sale Order, In re Motors Liquidation Co., No. 09-50026, dated
July 13, 2015 [ECF No. 13290].

         2.14   Disputed Issues shall have the meaning ascribed to such term in the Preamble.

         2.15   District Court shall have the meaning ascribed to such term in the Preamble.

       2.16 Economic Loss Classes shall mean the putative class of Ignition Switch Plaintiffs
and the putative class of Non-Ignition Switch Plaintiffs seeking certification under Rule 23.

      2.17 Economic Loss Plaintiff shall mean any individual who, prior to the Closing Date,
owned or leased a vehicle subject to a Recall other than NHTSA Recall No. 14v-540.

         2.18   Effective Date shall have the meaning ascribed to such term in the Preamble.

        2.19 Estimation Motion shall mean a motion filed in the Bankruptcy Court by the GUC
Trust seeking a determination of Plaintiffs’ aggregate Allowed General Unsecured Claims against
the Sellers.

        2.20 Estimation Order shall mean an order of the Bankruptcy Court estimating
Plaintiffs’ aggregate Allowed General Unsecured Claims against the Sellers, as contemplated by
Section 3.2(c) of the AMSPA, substantially in the form to be agreed upon by the Parties.

         2.21   Final Approval Order shall have the meaning ascribed to such term in Section
5.2.2.

         2.22   Final Order shall have the meaning ascribed to such term in the Plan.

         2.23   General Unsecured Claim shall have the meaning ascribed to such term in the
Plan.

         2.24   GM MDL shall have the meaning ascribed to such term in the Preamble.

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      2.25 GUC Trust means the trust created by the GUC Trust Agreement in the form
approved as Exhibit D to the Plan, as the same has been and may further be amended from time to
time.

       2.26 GUC Trust Agreement means the Second Amended and Restated Motors
Liquidation Company GUC Trust Agreement, by and among Wilmington Trust Company, as trust
administrator and trustee of the GUC Trust, and FTI Consulting, as trust monitor of the GUC Trust,
dated July 30, 2015, as it may be amended from time to time.

        2.27 GUC Trust Assets means assets that have been held, are held, or may be held in
the future by the GUC Trust. Solely in the event that the Bankruptcy Court enters the Estimation
Order, the term “GUC Trust Assets” as used herein shall be deemed to exclude the Adjustment
Shares.

        2.28 GUC Trust Beneficiaries means, in accordance with Section F of the GUC Trust
Agreement, holders of allowed General Unsecured Claims as of the date of this Agreement, and,
for the avoidance of doubt, does not include Plaintiffs.

      2.29      Ignition Switch Defect shall have the meaning ascribed to such term in the
Preamble.

      2.30      Ignition Switch Plaintiffs shall have the meaning ascribed to such term in the
Preamble.

        2.31 Ignition Switch Pre-Closing Accident Plaintiffs shall have the meaning ascribed
to such term in the Preamble.

       2.32 Judgment means the Judgment, entered June 1, 2015 [ECF No. 13177] by Judge
Robert E. Gerber in the Old GM Bankruptcy Case.

      2.33      Late Claims Motions shall have the meaning ascribed to such term in the
Preamble.

        2.34 Motors Liquidation Company Avoidance Action Trust means the trust
established under the Plan in connection with recovery of proceeds of the Term Loan Avoidance
Action.

        2.35 Motions to Enforce means, collectively, the (i) Motion of General Motors LLC
Pursuant to 11 U.S.C. §§ 105 and 363 to Enforce the Court’s July 5, 2009 Sale Order and
Injunction, dated April 21, 2014 [ECF No. 12620]; (ii) Motion of General Motors LLC Pursuant
to 11 U.S.C §§ 105 and 363 to Enforce this Court’s July 5, 2009 Sale Order and Injunction Against
Plaintiffs in Pre-Closing Accident Lawsuits, dated August 1, 2014 [ECF No. 12807]; and (iii)
Motion of General Motors LLC Pursuant to 11 U.S.C. §§ 105 and 363 to Enforce the Court’s July
5, 2009 Sale Order and Injunction (Monetary Relief Actions, Other Than Ignition Switch Actions),
dated August 1, 2014 [ECF No. 12808].

         2.36   New GM shall have the meaning ascribed to such term in the Preamble.


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         2.37   New GM Common Stock means the common stock of New GM (NYSE: GM).

         2.38   NHTSA means the National Highway Traffic Safety Administration.

      2.39      Non-Ignition Switch Plaintiffs shall have the meaning ascribed to such term in the
Preamble.

         2.40   Notice Cost Cap Amount shall have the meaning ascribed to such term in Section
4.4.

         2.41   Notice Provisions shall have the meaning ascribed to such term in Section 4.2.

         2.42   Old GM shall have the meaning ascribed to such term in the Preamble.

        2.43 Old GM Bankruptcy Case means those proceedings commenced on June 1, 2009
in the Bankruptcy Court captioned In re Motors Liquidation Company, et al., f/k/a General Motors
Corp., Bankr. No. 09-50026.

     2.44 Order to Show Cause means the order entered by the Bankruptcy Court on
December 13, 2016, which identified five threshold issues.

       2.45 Participating Unitholders means certain unaffiliated holders of 67% of the
beneficial units of the GUC Trust, as of the date of this Agreement, represented by Akin Gump
Strauss Hauer & Feld LLP.

         2.46   Parties means the Signatory Plaintiffs and the GUC Trust.

      2.47 Petition Date means June 1, 2009, when Motors Liquidation Company, f/k/a
General Motors Corporation, a Delaware Corporation, and certain of its affiliated companies
commenced cases under chapter 11 of the Bankruptcy Code.

         2.48   PIWD means claims for personal injury and wrongful death.

       2.49 PIWD Counsel means (i) Lisa M. Norman of Andrews Myers, P.C., but solely for
the Pre-Closing Accident Plaintiffs represented by that law firm with respect to a Late Claims
Motion and identified on Schedule 2; and (ii) Mark Tsukerman of Cole Schotz P.C., but solely for
the Pre-Closing Accident Plaintiffs represented by that law firm with respect to a Late Claims
Motion and identified on Schedule 3.

       2.50 PIWD Plaintiffs means those certain Pre-Closing Accident Plaintiffs represented
by PIWD Counsel with respect to a Late Claims Motion or a Supplemental Late Claims Motion
who have not entered into a settlement agreement with New GM and are identified on Schedules
2 and 3.

        2.51 Plaintiffs means the Ignition Switch Plaintiffs, the Non-Ignition Switch Plaintiffs,
and the Pre-Closing Accident Plaintiffs, including all plaintiffs (whether named or unnamed,
including unnamed members of the putative classes) covered by any of the Late Claims Motions,
all plaintiffs represented by counsel that is signatory hereto and any other party who (i) prior to

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July 10, 2009, suffered an economic loss claim by reason of his, her or its ownership or lease of
an Old GM vehicle with an Ignition Switch Defect included in Recall No. 14V-047; (ii) prior to
July 10, 2009 suffered an economic loss claim by reason of their ownership or lease of an Old GM
vehicle with defects in ignition switches, side airbags, or power steering included in NHTSA
Recall Nos. 14V-355, 14V-394, 14V-400, 14V-118 or 14V-153, it being understood however that
the covenants and agreements to be performed by the Signatory Plaintiffs are to be performed by
Co-Lead Counsel and PIWD Counsel and that no action or failure to act by any Plaintiff (other
than the Signatory Plaintiffs) shall constitute a breach of this Agreement or shall excuse the
performance of any other Party.

       2.52 Plan means the Debtors’ Second Amended Joint Chapter 11 Plan, filed March 18,
2011 [ECF No. 9836] by Motors Liquidation Company in the Old GM Bankruptcy Case.

      2.53 Pre-Closing means any time before July 10, 2009, the date on which the 363 Sale
between the Sellers and New GM closed.

       2.54 Pre-Closing Accident Plaintiffs shall have the meaning ascribed to such term in
the Preamble.

       2.55 Preliminary Approval Order means an Order of the Bankruptcy Court (i)
extending its discretion to apply Rule 23 to these proceedings, and (ii) approving the form and
manner of notice to the Plaintiffs, including notice to the proposed Classes upon finding that this
Court will likely be able to approve the Settlement under Federal Rule of Civil Procedure 23(e)(2)
and certify the settlement-purpose classes.

        2.56 Proofs of Claim means the late proofs of claim, including late class proofs of claim,
that the Ignition Switch Plaintiffs, certain Non-Ignition Switch Plaintiffs and certain Pre-Closing
Accident Plaintiffs sought authority to file pursuant to the Late Claims Motions and the
Supplemental Late Claims Motion, and any amendments thereto filed prior to the execution of this
Agreement. For the avoidance of doubt, the Proofs of Claim do not include any proofs of claim
filed by any client of Hilliard Martinez Gonzalez LLP or The Law Offices of Thomas J. Henry,
including any parties who sought to file late claims pursuant to ECF No. 13807 and any related
supplemental late claim motion (the “Hilliard Plaintiffs”). The Hilliard Plaintiffs shall not be
entitled to any of the rights or benefits conferred under this Agreement.

         2.57   Release shall have the meaning ascribed to such term in Section 5.3.

      2.58 Recalls means NHTSA Recall Numbers 14V-047, 14V-355, 14V-394, 14V-540,
14V-400, 14V-118 and 14V-153.

        2.59 Rule 23 means Rule 23 of the Federal Rules of Civil Procedure in effect on the date
of this Agreement.

       2.60 Sale Order means the Order (I) Authorizing Sale of Assets Pursuant to Amended
and Restated Master Sale and Purchase Agreement; (II) Authorizing Assumption and Assignment
of Certain Executory Contracts and Unexpired Leases in Connection with the Sale; and (III)
Granting Related Relief, dated July 5, 2009 [ECF No. 2968] and the supporting Decision on
Debtors’ Motion for Approval of (1) Sale of Assets to Vehicle Acquisition Holdings, LLC; (2)

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Assumption and Assignment of Related Executory Contracts; and (3) Entry into UAW Retiree
Settlement Agreement, dated July 5, 2009 [ECF No. 2967].

        2.61 Sellers means Motors Liquidation Company, formerly known as General Motors
Corporation, together with three of its debtor subsidiaries, Chevrolet-Saturn of Harlem, Inc.;
Saturn, LLC; and Saturn Distribution Corporation.

      2.62      Settlement means the settlement of the Parties’ disputes as provided for by this
Agreement.

         2.63   Settlement Effective Date shall have the meaning ascribed to such term in Section
3.1.

        2.64 Settlement Fund means that trust, fund or other vehicle established and designated
by the Signatory Plaintiffs for purposes of administration of Plaintiffs’ claims reconciliation and/or
distributions to Plaintiffs under a subsequent allocation methodology.

         2.65   Settlement Motion shall have the meaning ascribed to such term in Section 2.2.

       2.66 Side Letter shall mean the document attached hereto as Exhibit A, by and between
the GUC Trust, the Debtors, New GM, and FTI Consulting (as trust monitor of the GUC Trust)
dated September 23, 2011.

        2.67 Signatory Plaintiffs means PIWD Counsel on behalf of the PIWD Plaintiffs
identified on Schedule 2, and Co-Lead Counsel on behalf of the proposed class representatives for
Ignition Switch Plaintiffs and proposed class representatives for certain Non-Ignition Switch
Plaintiffs identified on Schedule 3.

        2.68 Supplemental Late Claims Motion shall have the meaning ascribed to such term
in the Preamble.

       2.69 Term Loan Avoidance Action means the action captioned Official Committee of
Unsecured Creditors of Motors Liquidation Co. v. JPMorgan Chase Bank, N.A. et al., Adv. Pro.
No. 09-00504 (Bankr. S.D.N.Y. July 31, 2009).

        2.70 Term Loan Avoidance Action Claims shall have the meaning ascribed to such
term in the GUC Trust Agreement.

       2.71 2016 Threshold Issues means the five threshold issues identified in the Bankruptcy
Court’s Order to Show Cause of December 13, 2016.

       2.72 363 Sale means the consummation of transactions that were approved on July 10,
2009 pursuant to the Sale Order.

3.     Consent to Filing of Late Claims. The GUC Trust consents to the filing of the Proofs of
Claim, as amended. For the avoidance of doubt, (i) the GUC Trust does not consent to the filing
of any proofs of claim submitted by the Hilliard Plaintiffs or any other parties who are not


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Signatory Plaintiffs and (ii) nothing in this Agreement shall constitute an agreement regarding the
allowance of any Proofs of Claim.

4.       Class Certification.

         4.1    As soon as practicable following the execution of this agreement, the Economic
                Loss Plaintiffs shall prepare a motion (“Class Certification Motion”) substantially
                in the form agreed upon by the GUC Trust, seeking certification of the Economic
                Loss Class pursuant to Rule 23 on a preliminary and final basis, approval of the
                form and manner of notice, and appointment of class representatives and class
                counsel for Rule 23(a) and (g) settlement certification purposes.

         4.2    As part of the Preliminary Approval Order, the Economic Loss Plaintiffs shall seek
                Bankruptcy Court approval of the form and manner of notice to the proposed
                members of the Economic Loss Classes and certain Pre-Closing Accident Plaintiffs
                (the “Notice Provisions”), substantially in the form to be agreed upon by the Parties
                and approved by the Bankruptcy Court.

         4.3    The requested Notice Provisions shall include (i) publication notice by multimedia
                channels that may include social media, e-mail, online car and consumer
                publications, and a settlement website (which, for the avoidance of doubt, may be
                the GUC Trust’s website at www.mlcguctrust.com) where all relevant documents
                and long form notice will be posted; (ii) notice by postcard to: (A) all persons in
                the United States who, prior to July 10, 2009, owned or leased a vehicle
                manufactured by Old GM that was subject to the Recalls and whose claim has not
                been settled or adjudicated finally; (B) all Pre-Closing Accident Plaintiffs who have
                filed a lawsuit against New GM as of the date of this Agreement and whose claim
                has not been settled or adjudicated finally; and (C) all Pre-Closing Accident
                Plaintiffs who have filed or joined a motion for authorization to file late claims
                against the GUC Trust and whose claim has not been settled or adjudicated finally;
                (iii) notice to all defendants in the Term Loan Avoidance Action via the Bankruptcy
                Court’s ECF system and, to the extent a defendant is not registered to receive notice
                via the ECF system, via postcard, and (iv) notice via DTC’s LENSNOTICE system
                to holders of beneficial units of the GUC Trust.

         4.4    The GUC Trust agrees to pay the reasonable costs and expenses for notice in an
                amount up to $13,720,000 (the “Notice Cost Cap Amount”), to be paid directly to
                the Plaintiffs’ noticing agent upon presentment of an invoice and only after the
                Bankruptcy Court enters the Preliminary Approval Order, consistent with the terms
                of this Agreement. For the avoidance of doubt, the GUC Trust shall not be
                obligated to fund or otherwise be committed to fund any amount in excess of the
                Notice Cost Cap Amount.

         4.5    The Parties agree that, in the event that the District Court issues an Opinion or Order
                on the Defendant General Motors LLC’s Motion for Summary Judgment Against
                the Bellwether Economic Loss Plaintiffs [GM MDL ECF No. 5859] (“Summary
                Judgment Decision”) that impacts the size, scope or composition of the classes of

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               Economic Loss Plaintiffs, the Parties shall, within five (5) business days from entry
               of the applicable Opinion or Order, engage in good faith negotiations regarding the
               applicable provisions of this Settlement Agreement impacted by said decision.

         4.6   In furtherance of the Plaintiffs’ Class Certification Motion, the GUC Trust shall file
               a motion seeking approval of an Order from the Bankruptcy Court directing the
               production of information held by General Motors LLC concerning the identity of
               any members of the Economic Loss Classes pursuant to Federal Rule of Bankruptcy
               Procedure 2004 and the applicable provisions of the MSPA.

5.       Motion for Approval of Settlement.

         5.1   As soon as practicable following the execution of this Agreement, the GUC Trust
               shall prepare and file a motion in the Bankruptcy Court (the “Settlement Motion”)
               seeking approval of this Settlement pursuant to Rule 9019 of the Federal Rules of
               Bankruptcy Procedure. The Settlement Motion shall be in a form to be agreed upon
               by the Parties, and otherwise on terms acceptable to the GUC Trust, Co-Lead
               Counsel and PIWD Counsel, each in their sole and absolute discretion.

         5.2   The Settlement Motion will ask the Bankruptcy Court to issue:

               5.2.1   An order approving the reallocation up to the Notice Cost Cap Amount from
                       GUC Trust Assets and authorizing (i) the payment of the noticing costs and
                       (ii) the GUC Trust to enter into the Settlement Agreement and seek
                       estimation pursuant to the terms of the GUC Trust Agreement.

               5.2.2   An order granting approval of the Settlement Motion pursuant to Rule 9019
                       of the Federal Rules of Bankruptcy Procedure, which order may be the same
                       order that provides final approval of the Settlement and Class Certification
                       Motion pursuant to Rule 23 (the “Final Approval Order”).

         5.3   The Final Approval Order will include a provision that imposes a complete and
               irrevocable waiver and release on the part of all Signatory Plaintiffs with respect to
               any and all rights, claims and causes of action (including but not limited to any
               claims and causes of action arising as a result of the Recalls or with respect to
               General Unsecured Claims of the Plaintiffs arising under, or that may arise under,
               an Estimation Order), now existing or arising in the future, that any Signatory
               Plaintiff might directly or indirectly assert against the Debtors, their estates, the
               GUC Trust, the trust administrator of the GUC Trust, the GUC Trust Monitor, the
               GUC Trust Assets, the Motors Liquidation Company Avoidance Action Trust, the
               trustee for the Motors Liquidation Company Avoidance Action and the GUC Trust
               Beneficiaries, and channels all such claims or potential claims to the Settlement
               Fund for administration and satisfaction (the “Release Provision,” and the waiver
               and release contemplated thereby, the “Release”).

         5.4   The Final Approval Order will include a provision that imposes a complete and
               irrevocable waiver and release from the GUC Trust, the GUC Trust Beneficiaries,
               the Motors Liquidation Company Avoidance Action Trust, and all defendants in
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               the Term Loan Avoidance Action, with respect to any rights to the Settlement Fund
               or the Adjustment Shares (the “Adjustment Shares Waiver Provision”).

         5.5   Immediately upon the entry of the Final Approval Order, the Release Provision and
               Adjustment Shares Waiver Provision shall become effective and binding on all
               affected parties.

         5.6   The Signatory Plaintiffs agree that they will not object to any and all injunctions
               sought by the GUC Trust pursuant to Bankruptcy Code Section 105 to further
               effectuate the Release Provision.

6.       Estimation.

         6.1   The GUC Trust shall file the Estimation Motion within three (3) business days of
               entry of the Final Approval Order. The Estimation Motion shall seek entry of the
               Estimation Order, which order shall:

               6.1.1   estimate the aggregate allowed General Unsecured Claims of Economic
                       Loss Plaintiffs and certain Pre-Closing Accident Plaintiffs against Sellers
                       and/or the GUC Trust pursuant to Bankruptcy Code Section 502(c), Section
                       5.1 of the GUC Trust Agreement, Section 7.3 of the Plan, Section 3.2(c) of
                       the AMSPA and the Side Letter in an amount that, as of the date of the
                       Estimation Order, could equal or exceed $10 billion, thus triggering the
                       issuance of the maximum amount of the Adjustment Shares;

               6.1.2   direct that, subject to Section 7 hereof, any such Adjustment Shares issued
                       as a result of an Estimation Order, or the value of such Adjustment Shares,
                       be promptly delivered by New GM to the Settlement Fund; and

               6.1.3   schedule a hearing in the Bankruptcy Court to consider the Estimation
                       Motion and entry of the Estimation Order.

         6.2   Notwithstanding Sections 157(b)(2)(B) and (b)(2)(O) of Title 28 of the United
               States Code, in connection with the Settlement Motion, to the extent (if any)
               consent is required, the Pre-Closing Accident Plaintiffs represented by PIWD
               Counsel consent to the Bankruptcy Court estimating their personal injury and
               wrongful death claims against the Sellers and/or the GUC Trust in connection with
               the settlement contemplated under this Agreement. The Pre-Closing Accident
               Plaintiffs represented by PIWD Counsel do not consent to estimation of their
               personal injury and wrongful death claims by the Bankruptcy Court for any other
               purpose other than implementation of the settlement contemplated under this
               Agreement or in connection with any other proceeding other than proceedings
               necessary to implement the settlement contemplated under this Agreement.

         6.3   For the avoidance of doubt, each Signatory Plaintiff that is a Pre-Closing Accident
               Plaintiff settling a Late Claims Motion or a Supplemental Late Claims Motion
               against the GUC Trust relating to an accident that occurred before the Closing Date
               in a vehicle that was later subject to one of the Recalls waives any right to a jury

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               trial in connection with the following: (1) the estimation of his or her individual
               claim as a Pre-Closing Accident Plaintiff by the Bankruptcy Court, (2) the
               estimation of all late claims of PIWD Plaintiffs taken as a whole by the Bankruptcy
               Court, (3) the fixing of the amount to be distributed to such Pre-Closing Accident
               Plaintiff on account of his or her late claim, (4) the development and approval of
               the allocation of the Adjustment Shares and any other property or proceeds in the
               Settlement Fund between economic loss plaintiffs and Pre-Closing Accident
               Plaintiffs, (5) the development and approval of the criteria and eligibility for such
               PIWD Plaintiff to receive distributions from the Settlement Fund on account of his
               or her late claim, and (6) the fixing of the amount of such Signatory Plaintiff’s claim
               for purposes of receiving distributions (if any) from the Settlement Fund pursuant
               to the terms of this Agreement.

7.      Required Withholdings from Distributions. Notwithstanding anything in this
Agreement to the contrary, and although not anticipated to be required to do so, the GUC Trust,
the GUC Trust Administrator, and any applicable withholding agent shall be entitled to deduct and
withhold from the distribution of the Adjustment Shares otherwise payable to the Settlement Fund
pursuant to this Agreement any amount as may be required to be deducted and withheld with
respect to the making of such payment under the United States Internal Revenue Code of 1986, as
amended (the “Code”), or any other provision of tax law. The GUC Trust and the GUC Trust
Administrator agree to provide the Settlement Fund with reasonable notice of its intent to deduct
and withhold if required to do so, and to the extent practicable, consider in good faith any position
that the Settlement Fund raises as to why withholding is not required or alternative arrangements
proposed by the Settlement Fund that may avoid the need for withholding. To the extent that
amounts are so withheld or deducted by the GUC Trust, the GUC Trust Administrator, or other
applicable withholding agent, as the case may be, such withheld amounts shall be treated for all
purposes of this Agreement as having been paid to the Settlement Fund. In addition, in accordance
with Section 6.1(e) of the GUC Trust Agreement and taking into account Section 7.3 of the GUC
Trust Agreement, the GUC Trust Administrator may hold back from the distributions of
Adjustment Shares contemplated by this Agreement sufficient Adjustment Shares or amounts in
order to settle the tax liabilities of the GUC Trust incurred as a result of the transactions
contemplated by this Agreement. To the extent such hold back of Adjustment Shares is necessary,
the GUC Trust Administrator shall monetize such held back Adjustment Shares on the same date
as the distribution of Adjustment Shares is provided to the Settlement Fund. Furthermore, the
GUC Trust Administrator will request an expedited determination of taxes of the GUC Trust under
Section 505(b) of the Bankruptcy Code for all returns filed for, or on behalf of, the GUC Trust for
any and all tax periods that include transactions contemplated by this Agreement. Upon such
determination (or, in the event a court of competent jurisdiction decides that such a determination
is unavailable, as soon as reasonably practicable but no later than the expiration of the applicable
statute of limitations), the GUC Trust Administrator will distribute in accordance with provisions
of this Agreement any amounts held back in excess of any tax liabilities incurred by the GUC Trust
as a result of the transactions contemplated by this Agreement. The GUC Trust and the GUC Trust
Administrator agree to provide the Settlement Fund with reasonable notice of (a) any intent to hold
back Adjustment Shares and (b) the amount to be withheld, with the intent that such withheld
amount would not exceed what could be the final tax liability of the GUC Trust as a result of the
transactions contemplated by this Agreement.


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8.      The Settlement Fund. The Signatory Plaintiffs or, in the alternative, an administrator
appointed by the Signatory Plaintiffs, shall establish the Settlement Fund (at the sole cost of the
Signatory Plaintiffs) and the procedures for the administration and allocation to Plaintiffs of the
Settlement Fund, including the criteria for Plaintiffs to assert a claim against the Settlement Fund,
the methodology for allocating the Settlement Fund to Plaintiffs, and procedures for payment of
Plaintiffs’ attorneys’ fees.

      (a) Allocation of any Adjustment Shares (or their value), and any other consideration
      contained in the Settlement Fund between the Economic Loss Plaintiffs and Pre-Closing
      Accident Plaintiffs shall be determined and approved by the Bankruptcy Court. Notice of any
      agreement as to the proposed allocation of any Adjustment Shares (or their value), and any
      other consideration contained in the Settlement Fund as between the Economic Loss Plaintiffs
      and Pre-Closing Accident Plaintiffs, along with information about the hearing date and how
      and when to assert any objections, will be provided by, and at the sole cost of, Signatory
      Plaintiffs (and not the GUC Trust) via a settlement website to all known Plaintiffs whose rights
      might be affected by such allocation, and such Plaintiffs shall have an opportunity to object to
      the proposed allocation at a hearing, as when and if such agreement is reached.

      (b) Approval of the qualifications and criteria for Plaintiffs to be eligible to receive
      distributions from any Adjustment Shares (or their value), and any other consideration
      contained in the Settlement Fund shall be done by the Bankruptcy Court. Notice of any
      proposed criteria for determining the right or ability of each Plaintiff to receive a distribution
      from any Adjustment Shares (or their value), and any other consideration contained in the
      Settlement Fund on account of a claim against Debtors based upon economic loss or for PIWD
      arising or occurring before the Closing Date, along with information about the hearing date
      and how and when to assert any objections, will be provided by, and at the sole cost of,
      Signatory Plaintiffs (and not the GUC Trust) via a settlement website to all known Plaintiffs
      whose rights might be affected by the establishment of criteria for the payment of such claims
      and such Plaintiffs shall have an opportunity to object to the proposed criteria at a hearing, as
      when and if such criteria is developed. Being defined as a Plaintiff does not assure any party
      that he, she, or it will receive a distribution from any Adjustment Shares (or their value), or
      any other consideration contained in the Settlement Fund.

9.      Settlement Effective Date. This Agreement shall become effective and binding on the
Parties on the date on which this Agreement is fully executed by each of the Parties.

10.      Termination.

         10.1    Automatic Termination. This Agreement shall immediately terminate as to all
                 Parties in the event (a) the Bankruptcy Court does not approve any aspect of the
                 relief sought in the Settlement Motion, (b) the Bankruptcy Court does not enter
                 either the Preliminary Approval Order or Final Approval Order, (c) the Bankruptcy
                 Court denies class certification, or (d) the Bankruptcy Court requires notice or other
                 procedures materially different from those set forth herein that are not otherwise
                 reasonably acceptable to the Parties. For the avoidance of doubt, this Agreement
                 shall not immediately terminate if the Bankruptcy Court denies approval of the
                 Estimation Order. In the event of such automatic termination, this Agreement shall

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                be null and void, and each of the Parties’ respective interests, rights, remedies and
                defenses shall be fully restored without prejudice as if this Agreement (except as
                set forth in Sections 11, 12, 13, 21, 23 and 27) had never existed and the Parties
                shall be returned to their respective positions status quo ante.

         10.2   Termination by the GUC Trust. This Agreement shall be terminable at the option
                of the GUC Trust in the event (a) the Preliminary Approval Order is not entered on
                or before September 15, 2019; or (b) an appeal of the Summary Judgment Decision
                is filed by Co-Lead Counsel. In the event of such termination, this Agreement shall
                be null and void, and each of the Parties’ respective interests, rights, remedies and
                defenses shall be fully restored without prejudice as if this Agreement (except as
                set forth in Sections 11, 12, 13, 21, 23 and 27) had never existed and the Parties
                shall be returned to their respective positions status quo ante.

         10.3   Termination by Any Party for Cause. In the event of any material breach of the
                terms of this Agreement, the non-breaching Party may elect (in addition to any
                other remedies available to the non-breaching party hereunder or under applicable
                law) to terminate this Agreement by (i) providing a Communication to the
                breaching party as set forth in Section 23 below, and affording the breaching party
                a five (5) business day period in which to cure the purported breach, and (ii) absent
                such cure or the commencement of an action in the Bankruptcy Court with respect
                to the existence of any such breach, by providing a follow-up Communication to
                the breaching Party as set forth in Section 23 below, that declares the Agreement to
                be terminated. Following such termination for cause, the terms of the Agreement
                shall no longer be binding on the non-breaching Party (except as set forth in
                Sections 11, 12, 13, 21, 23 and 27).

11.    Attorneys’ Fees. Except as otherwise provided for herein, each of the Parties shall pay its
own court costs, attorneys’ fees, and all other expenses, costs, and fees incurred relating to this
Agreement and any related litigation, including but not limited to the GM MDL and Motions to
Enforce litigation. If any lawsuit or proceeding is required to enforce the terms of this Agreement,
the prevailing party in any such lawsuit or proceeding shall be entitled to reasonable attorney’s
fees and costs.

12.     No Admission. Nothing in this Agreement shall be deemed an admission of any kind. To
the extent provided by Federal Rule of Evidence 408 and any applicable state rules of evidence,
this Agreement and all negotiations relating thereto shall not be admissible into evidence in any
proceeding.

13.     Remedies. Each of the Parties retain all remedies available in law or equity for breach of
this Agreement by any Party, including, without limitation, the right of a non-breaching Party to
seek specific performance and injunctive or other equitable relief as a remedy for any such breach.
For the avoidance of doubt, nothing in the Agreement is intended to waive any claims against New
GM or to be an election of remedies against New GM; nor does the Agreement or any payments
made in connection therewith represent full satisfaction of any claims against the Debtors, unless
and until such claims are in fact paid in full from every available source; provided, however, that
in no event shall any Plaintiff be permitted to seek any further payment or compensation from the

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GUC Trust in respect of its claims or otherwise, other than the Adjustment Shares. Except as
mandated otherwise under applicable law, (i) nothing in the Settlement Agreement shall be
construed to waive (nor is anything in the Settlement Agreement intended by the Parties to waive)
any claims that any Plaintiff may have against New GM or constitute an election of remedies by
any Plaintiff; (ii) the Adjustment Shares (nor any distribution thereof to any Plaintiff) shall not
represent full and final satisfaction of any claim that any Plaintiff may have against New GM, all
of which are expressly reserved; and (iii) the Bankruptcy Court’s estimate of the Plaintiffs’
Allowed General Unsecured Claims in an Estimation Order shall not operate as a cap on any of
the claims of any of the Plaintiffs against New GM.

14.     No Litigation. Except as may be necessary to enforce the terms of this Agreement, the
Parties and any other person who is an intended beneficiary hereunder, agree that she or he shall
not commence or proceed with any action, claim, suit, proceeding or litigation against any other
Party, directly or indirectly, regarding or relating to the matters described in this Agreement, or
take any action inconsistent with the terms of the Agreement.

15.     Further Assurances. Each of the Parties covenant to, from time to time, execute and
deliver such further documents and instruments and take such other actions as may be reasonably
required or appropriate to evidence, effectuate, or carry out the intent and purposes of this
Agreement or to perform its obligations under this Agreement and the transactions contemplated
thereby.

16.     Cooperation. The Parties agree to reasonably cooperate with one another to effectuate an
efficient and equitable implementation of this Agreement.

17.    Counterparts; Facsimile; Signatures. This Agreement may be executed in any number
of counterparts and by different Parties to this Agreement on separate counterparts, each of which,
when so executed, shall be deemed an original, but all such counterparts shall constitute one and
the same agreement. Any signature delivered by any of the Parties by facsimile or .pdf electronic
transmission shall be as effective as delivery of a manually executed counterpart of this
Agreement, shall be deemed to be an original signature hereto, and shall be admissible as such in
any legal proceeding to enforce this Agreement.

18.     Binding Effect. This Agreement shall be binding upon and inure to the benefit of the
Parties and their respective agents, partners, attorneys, employees, representatives, officers,
directors, shareholders, divisions, subsidiaries, affiliates, transferees, heirs, executors,
administrators, personal representatives, legal representatives, successors, and assigns.

19.     Integration. This Agreement constitutes the entire agreement and understanding among
the Parties hereto relating to the subject matter hereof, and supersedes all prior proposals,
negotiations, agreements, representations and understandings between or among any of the Parties
hereto relating to such subject matter. In entering into this Agreement, the Parties and each of
them acknowledge that they are not relying on any statement, representation, warranty, covenant
or agreement of any kind made by any other party hereto or any employee or agent of any other
party hereto, except for the representations, warranties, covenants and agreements of the Parties
expressly set forth herein.


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20.     Amendment. Except as otherwise specifically provided in this Agreement, no
amendment, modification, rescission, waiver or release of any provision of this Agreement shall
be effective unless the same shall be in writing and signed by the Parties.

21.    Interpretation. Whenever possible, each provision of this Agreement shall be interpreted
in such a manner as to be effective and valid under applicable law, and the Parties agree to take
any and all steps which are necessary in order to enforce the provisions hereof.

22.     Severability. The terms and conditions of this Agreement are not severable. However, if
any provision or part of any provision of this Agreement is for any reason declared or determined
by a court of competent jurisdiction to be invalid, unenforceable, or contrary to public policy, law,
statute, or ordinance, the validity of the remaining parts, terms, or provisions of this Agreement
shall not be affected thereby and shall remain valid and fully enforceable, and such invalid,
unenforceable, or illegal part or provision shall not be deemed to be part of this Agreement.

23.     Notices. Any notice, demand, request, consent, approval, declaration or other
communication (a “Communication”) under this Agreement shall be in writing and shall be given
or delivered (i) by a nationally recognized private overnight courier service addressed as indicated
in Schedule 1 annexed hereto or to such other address as such party may indicate by a notice
delivered to the other Parties hereto in accordance with the provisions hereof; or (ii) to the extent
that such Communication has been filed with the Bankruptcy Court, via the electronic distribution
means used by the Bankruptcy Court. Any Communication shall be deemed to have been
effectively delivered and received, if sent by a nationally recognized private overnight courier
service, on the first business day following the date upon which it is delivered for overnight
delivery to such courier service.

24.     Choice of Law and Forum; Consent to Jurisdiction. This Agreement shall be governed
by and construed in accordance with the laws of the State of New York, without reference to its
conflict of laws principles. The Bankruptcy Court shall have exclusive jurisdiction to resolve any
dispute arising out of, related to or in connection with this Agreement to the exclusion of any other
court, and the Parties hereby consent to the jurisdiction of the Bankruptcy Court for resolution of
such disputes and agree that they shall not attempt to litigate any such dispute in any other court.

25.     Advice of Counsel. Each Party represents and acknowledges that it has been represented
by an attorney with respect to this Agreement and any and all matters covered by or related to such
Agreement. Each Party further represents and warrants to each other that the execution and
delivery of this Agreement has been duly authorized by each of the Parties after consultation with
counsel, that the persons signing this Agreement on their behalf below have been fully authorized
by their respective Parties to do so, and that the undersigned do fully understand the terms of this
Agreement and have the express authority to enter into this Agreement.

26.     Assignment. No assignment of this Agreement or of any rights or obligations hereunder
may be made by any party hereto without the prior written consent of the other Parties hereto, and
any attempted assignment without such prior consent shall be null and void.




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27.    Waiver. Except as otherwise specifically provided in this Agreement, any provision of
this Agreement may be waived only by a written instrument signed by the Party against whom
enforcement of such waiver is sought.

28.     Headings, Number, and Gender. The descriptive headings of the sections of this
Agreement are included for convenience of reference only and shall have no force or effect in the
interpretation or construction of this Agreement. As used in this Agreement, the singular shall
include the plural, and the masculine shall include the feminine and neutral genders, and vice versa.

29.     Waiver of Jury Trial. Each of the Parties hereby irrevocably waives its rights, if any, to
a jury trial for any claim or cause of action based upon or arising out of this Agreement.

30.    Authority. Each of the Parties represents and warrants that (i) it has the requisite power
and authority to execute and deliver this Agreement and any ancillary agreements connected hereto
which it may be a party; (ii) the execution and delivery by it of this Agreement, and the
performance of its obligations hereunder have been duly authorized by all necessary action on its
part and (iii) this Agreement constitutes a legal, valid and binding obligation of such Party.

31.    GUC Trust Fiduciary Duties. Nothing in this Agreement shall otherwise require the
GUC Trust or the GUC Trust Administrator to take any action, or to refrain from taking any action,
to the extent inconsistent with its fiduciary obligations under applicable law (as reasonably
determined by them in good faith after consultation with legal counsel).




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                         Settlement Agreement Pg 23 of 47



        IN WITNESS WHEREOF, the Parties have executed and delivered this Agreement as of
the date first written above.

 Wilmington Trust National Association,            HAGENS BERMAN SOBOL SHAPIRO
 Not individually, but solely in its capacity      LLP
 as GUC Trust Administrator and Trustee of
 the GUC Trust                                     On behalf of the Ignition Switch Plaintiffs
                                                   and certain Non-Ignition Switch Plaintiffs
 By: ____________________________
 Name: David A. Vanaskey, Jr.                      By: _________________________
 Title: Vice President, Wilmington Trust           Name: Steve W. Berman
 Company
                                                   Title: Co-Lead Counsel for the Ignition
 BROWN RUDNICK LLP                                 Switch Plaintiffs and certain Non-Ignition
                                                   Switch Plaintiffs in the MDL Court
 On behalf of the Ignition Switch Plaintiffs and
 certain Non-Ignition Switch Plaintiffs          LIEFF CABRASER HEIMANN &
                                                 BERNSTEIN, LLP
 By: ___________________________
 Name: Edward S. Weisfelner                        On behalf of the Ignition Switch Plaintiffs
 Name: Howard S. Steel                             and certain Non-Ignition Switch Plaintiffs

 Title: Designated Counsel for the Ignition        By: ___________________________
 Switch Plaintiffs and certain Non-Ignition        Name: Elizabeth J. Cabraser
 Switch Plaintiffs in the Bankruptcy Court
                                                   Title: Co-Lead Counsel for the Ignition
 STUTZMAN, BROMBERG, ESSERMAN &                    Switch Plaintiffs and certain Non-Ignition
 PLIFKA, P.C.                                      Switch Plaintiffs in the MDL Court

 On behalf of Ignition Switch Plaintiffs and
 certain Non-Ignition Switch Plaintiffs            ANDREWS MYERS, P.C.

 By: _________________________                     On behalf of certain PIWD Plaintiffs
 Name: Sander L. Esserman

 Title: Designated Counsel for the Ignition
 Switch Plaintiffs and certain Non-Ignition        By: ___________________________
 Switch Plaintiffs in the Bankruptcy Court         Name: Lisa M. Norman

                                                   Title: Counsel to certain PIWD Plaintiffs

                                                   COLE SCHOTZ, P.C.

                                                   On behalf of certain PIWD Plaintiffs

                                                   By: ___________________________

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                         Settlement Agreement Pg 24 of 47



        IN WITNESS WHEREOF, the Parties have executed and delivered this Agreement as of
the date first written above.

Wilmington Trust National Association,             HAGENS BERMAN SOBOL SHAPIRO LLP
Not individually, but solely in its capacity
as GUC Trust Administrator and Trustee of          On behalf of the Ignition Switch Plaintiffs and
the GUC Trust                                      certain Non-Ignition Switch Plaintiffs

By:    _______________________                     By:_________________________
Name: David A. Vanaskey, Jr.                       Name: Steve W. Berman
Title: Vice President, Wilmington Trust            Title: Co-Lead Counsel for the Ignition Switch
Company                                            Plaintiffs and certain Non-Ignition Switch
                                                   Plaintiffs in the MDL Court
BROWN RUDNICK LLP
                                                   LIEFF CABRASER HEIMANN &
On behalf of the Ignition Switch Plaintiffs and
                                                   BERNSTEIN, LLP
certain Non-Ignition Switch Plaintiffs
                                                   On behalf of the Ignition Switch Plaintiffs and
By:__________________________ -                    certain Non-Ignition Switch Plaintiffs
Name: Edward S. Weisfelner
Name: Howard S. Steel
                                                   By:___________________________
                                                   Name: Elizabeth J. Cabraser
Title: Designated Counsel for the Ignition
Switch Plaintiffs and certain Non-Ignition         Title: Co-Lead Counsel for the Ignition Switch
Switch Plaintiffs in the Bankruptcy Court          Plaintiffs and certain Non-Ignition Switch
                                                   Plaintiffs in the MDL Court
STUTZMAN, BROMBERG, ESSERMAN &
PLIFKA, P.C.
                                                   ANDREWS MYERS, P.C.
On behalf of Ignition Switch Plaintiffs and
certain Non-Ignition Switch Plaintiffs
                                                   On behalf of certain PIWD Plaintiffs
By:
                                                   By:___________________________
Name: Sander L. Esserman
                                                   Name: Lisa M. Norman
Title: Designated Counsel for the Ignition         Title: Counsel to certain PIWD Plaintiffs
Switch Plaintiffs and certain Non-Ignition
Switch Plaintiffs in the Bankruptcy Court
                                                   COLE SCHOTZ, P.C.

                                                   On behalf of certain PI’\^ Plaintiffs

                                                   By:
                                                   Name: Mark Tsukerman

                                                   Title: Counsel to certain PIWD Plaintiffs


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                                                                  Execution Version


                    MOTORS LIQUIDATION COMPANY GUC TRUST
                            c/o Wilmington Trust Company
                                         Rodney Square North
                                       1100 North Market Street
                                   Wilmington, Delaware, 19890-1615

                                          September 23, 2011

Motors Liquidation Company
401 S. Old Woodward, Suite 370
Birmingham, Michigan 48009
Attn: Ted Stenger

Remediation And Liability Management Company, Inc.
c/o Motors Liquidation Company
401 S. Old Woodward, Suite 370
Birmingham, Michigan 48009
Attn: Ted Stenger

General Motors LLC
300 Renaissance Center]
Detroit Michigan 48265-3000
Attn: Lawrence Buonomo

FTI Consulting, Inc.
1201 W. Peachtree St., Suite 600
Atlanta, GA 30309
Attn: Anna Phillips

       Re:     Adjustment Shares

Ladies and Gentlemen,

Reference is made to the (i) Amended and Restated Master Sale and Purchase Agreement, dated as of
July 5, 2009 (as amended, the “MSPA”), by and among General Motors Corporation (now known as
Motors Liquidation Company) (“MLC”), certain of MLC’s affiliated debtor entities listed therein (the
“MSPA Affiliated Debtors”) and NGMCO, Inc. (now known as General Motors LLC) (“GM”), (ii)
Motors Liquidation Company GUC Trust Agreement, dated as of March 30, 2011 (as amended, the
“GUC Trust Agreement”), by and among MLC, the MSPA Affiliated Debtors and certain other MLC
affiliates (the “Debtors”), Wilmington Trust Company, solely in its capacity as GUC Trust Administrator
and trustee of the Motors Liquidation Company GUC Trust (the “GUC Trust Administrator”), and FTI
Consulting, Inc., solely in its capacity as GUC Trust Monitor of the Motors Liquidation Company GUC
Trust, and (iii) Debtors’ Second Amended Joint Chapter 11 Plan (the “Plan”), as confirmed by order of
the United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”) on
March 29, 2011. Capitalized terms used but not defined herein shall have the meanings ascribed to such
terms in the GUC Trust Agreement.

Pursuant to the GUC Trust Agreement and the Plan, the Debtors are the parties designated to pursue and
receive any Adjustment Shares (as such term is defined in the MSPA) prior to the GUC Trust Funding
Date and the Motors Liquidation Company GUC Trust is the party designated to pursue and receive any
Adjustment Shares on and after the GUC Trust Funding Date. In order to address any ambiguity under
the MSPA or the GUC Trust Agreement regarding the timing and conditions precedent to the issuance of
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any Adjustment Shares and in order to eliminate the potential burden on the Bankruptcy Court of
estimating claims in order to calculate whether Adjustment Shares should be issued, the parties hereto
enter into this letter agreement to fix procedures with respect thereto.

Notwithstanding Section 5.1 of the GUC Trust Agreement or otherwise, and in accordance with Sections
2.3(d) and 6.12 of the GUC Trust Agreement, the undersigned parties agree that the GUC Trust
Administrator may, at any time (which for the avoidance of doubt shall not be restricted to on or before
the 180th day following the Effective Time), seek (or require the Debtors to seek, as applicable) the
Claims Estimate Order (as such term is defined in the MSPA). In the event that the GUC Trust
Administrator determines to seek the Claims Estimate Order prior to the GUC Trust Funding Date, the
Debtors agree to file and pursue the Claims Estimate Order (in accordance with Sections 2.3(d) and 6.12
of the GUC Trust Agreement) until the GUC Trust Funding Date, at which time the entitlement to pursue
the Claims Estimate Order shall be transferred to the GUC Trust Administrator. Notwithstanding
anything to the contrary in this letter agreement, in the event that any Adjustment Shares are required to
be issued prior to the GUC Trust Funding Date, such Adjustment Shares shall be issued to MLC in
accordance with section 3.2(c) of the MSPA.

The parties acknowledge that the GUC Trust Administrator’s current intention is to delay a request for a
Claims Estimate Order (which may be one or multiple orders) to such time, if any, that the GUC Trust
Administrator determines, in its sole and absolute discretion, that the allowed eligible claims are likely to
exceed $35 billion in the aggregate. This delay is intended to eliminate the risk and uncertainty to all
parties of estimating at this time the outcome of ongoing litigation with respect to Disputed Claims (as
such term is defined in the Plan).

By executing the acknowledgment below, the parties further agree that at any time on or following the
GUC Trust Funding Date, the GUC Trust Administrator (as successor to MLC) (i) may seek the Claims
Estimate Order (or continue the prosecution of any Claims Estimate Order previously sought by the
Debtors), and (ii) shall be entitled to receive the Adjustment Shares, in each case in accordance with
Section 3.2(c) of the MSPA as if it were MLC.

For avoidance of doubt, this letter agreement is not intended to amend the MSPA; rather it is intended
toclarify the parties’ rights and responsibilities thereunder.

This letter agreement may be executed in multiple counterparts (including by means of telecopied or PDF
signature pages), each of which shall be deemed an original but all of which taken together shall
constitute one and the same instrument. Each party represents and warrants that (i) it has all requisite
power and authority to execute and deliver this letter agreement, (ii) this letter agreement constitutes the
legal, valid and binding obligation of such party (assuming the due authorization, execution and delivery
of this letter agreement by the other parties), and (iii) no further consent, approval or authorization is
required on the part of any such party. This letter agreement and all of the provisions hereof shall be
binding upon and inure to the benefit of the parties hereto and their respective successors and permitted
assigns.

                                         [Signature Page Follows]




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                                              Very truly yours,


                                              MOTORS LIQUIDATION COMPANY GUC TRUST

                                                 By: WILMINGTON TRUST COMPANY, solely in its
                                                 capacil' as GUC Trust Açlministrator


                                                 By:         --     1.
                                                    Name:
                                                    Title:        David A. Vanasey, Jr.
                                                                     Vice President

Acknowledged and agreed to on
this    day of September, 2011 by:


MOTORS LIQUIDATION COMPANY


By:
Name:
Title:



REMEDIATION ANT) LIAE1LITY.MANAGEMENT COMPANY, INC:


By:
Name:
Title:



GENERAL MOTORS LLC


By:
  Name:
   Title:



FTI CONSULTING, INC.,
solely in its capacity as GUC Trust Monitor


By:
  Name:
      Title:
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                                              Very truly yours,


                                              MOTORS LIQUIDATION COMPANY GUC TRUST

                                                 By: WILMINGTON TRUST COMPANY, solely in its
                                                 capacity as GUC Trust Administrator


                                                 By:

                                                    Title:


Acknowledged and agreed to on
this    day of September, 2011 by:


MOTORS LIQUIDATION COMPANY


By:
Name:
Title:



REMEDIATION AND LIABILITY MANAGEMENT COMPANY, INC:
         -   /


By:      /••     '
                     _I_______
Name:
Title:           /



GENERAL MOTORS LLC


By:____
  Name:
  Title:



FTI CONSULTING, INC.,
solely in its capacity as GUC Trust Monitor


in
  Name:
  Title:
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                                              Very truly yours,


                                              MOTORS LIQUIDATION COMPANY GUC TRUST

                                                 By: WILMINGTON TRUST COMPANY, solely in its
                                                 capacity as GUC Trust Administrator


                                                 By:

                                                    Title:


Acknowledged and agreed to on
this    day of September, 2011 by:


MOTORS LIQUIDATION COMPANY


By:_
Name:
Title:



REMEDIATION AND LIABILITY MANAGEMENT COMPANY, INC:


By:_
Name:
Title:



GENERAL MOTORS LLC


By:
   Name:
   Title:



FTI CONSULTING, INC,,
solely in its capacity as GUC Trust Monitor


By:
   Name: -->-'-,
    Title:
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                                            Schedule 1

If to the GUC Trust:

c/o Drinker Biddle & Reath LLP
1177 Ave. of the Americas
41st Floor
New York, NY 10036
Attn: Kristin K. Going
       Clay Pierce


If to the PIWD Plaintiffs represented by Andrews Myers, P.C.:

c/o Andrews Myers, P.C.
1885 St. James Place, 15th Floor
Houston, Texas 77056
Attn: Lisa M. Norman

If to the Ignition Switch Plaintiffs and/or certain Non-Ignition Switch Plaintiffs (or Co-Lead
Counsel on their behalf):

 c/o Hagens Berman Sobol Shapiro LLP              c/o Lieff Cabraser Heimann & Bernstein, LLP
 1918 Eighth Avenue, Suite 3300                   275 Battery Street, 29th Floor
 Seattle, WA 98101                                San Francisco, California 94111
 Attn: Steve W. Berman, Esq.                      Attn: Elizabeth J. Cabraser, Esq.

 c/o Brown Rudnick LLP                            c/o Stutzman, Bromberg, Esserman & Plifka,
 Seven Times Square                               a Professional Corporation
 New York, New York 10036                         2323 Bryan Street, Ste 2200
 Attn: Edward S. Weisfelner                       Dallas, Texas 75201
       Howard S. Steel                            Attn: Sander L. Esserman


 If to the PIWD Plaintiffs represented by Cole
 Schotz P.C.:

 c/o Cole Schotz, P.C.
 1325 Avenue of the Americas, 19th Floor
 New York, NY 10019
 Attn: Mark Tsukerman

 c/o The Cooper Firm
 531 Roselane Street, Suite 200
 Marietta, GA 30060
 Attn: Lance Cooper



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 c/o Beasley, Allen, Crow, Methvin, Portis &
 Miles P.C.
 218 Commerce Street
 Montgomery, AL 36104
 Attn: J. Cole Portis




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                                  Schedule 2




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                     ANDREWS MYERS, PC - Pre-Closing Accident Plaintiffs

              Last name               First name                           Actual Date of Injury
       1.     Aguilar                 Angel                                       02/28-29/2008
       2.     Allen                   Carl                                           02/01/2008
       3.     Alvarado                Angelica                                       04/07/2007
       4.     Amaya                   Anthony                                        06/28/2009
       5.     Amaya                   Brandon                                        06/28/2009
       6.     Amaya                   Rosalie                                        06/28/2009
       7.     Anderson                Cindy                                          02/14/2003
       8.     Anderson                Jeanne                                         03/25/2003
       9.     Anderson Wheeler        Vickie K.                                      06/14/2007
       10.    Andrew                  Curtis                                         03/15/2009
       11.    Applewhite              Allen                                          12/12/2007
       12.    Ashford                 Karl                                           07/26/2006
       13.    Ator                    Carole                                         05/09/2008
       14.    Bachelder               Jeannine                                       07/23/2007
       15.    Badalucco               Anthony                                        07/22/2004
       16.    Ball                    Sarah K.                                       01/24/2006
       17.    Barnett                 Parnell R.                                     09/20/2008
       18.    Barrera                 Rafael                                         06/11/2007
       19.    Barton                  James                                          08/19/2008
       20.    Baylous                 Marquessia                                     08/25/2007
       21.    Bazinette               Carolyn                                        08/15/2005
       22.    Beaty                   Robert                                         05/01/2009
       23.    Bednar                  Jared                                          01/09/2008
       24.    Benard                  Mary J.                                        03/01/2005
       25.    Bennett                 Erick                                          07/04/2008
       26.    Bennett                 Mary                                           02/26/2006
       27.    Bernard                 Sylvia M.                                      06/24/2006
       28.    Bhandari                Sunita                                         07/03/2008
       29.    Bingle                  Bonnie J.                                      02/13/2009
       30.    Birkheimer              LeAnn                                          07/09/2006
       31.    Bittner                 Vickey A.                                      04/24/2008
       32.    Black                   Benita                                         06/21/2007
       33.    Bleicken                Eric                                           04/26/2008
       34.    Bloedow                 Barbara                                        07/14/2007
       35.    Boggs                   Alvin                                          01/14/2007
       36.    Bonds                   Ashanti                                        02/28/2009
       37.    Booth                   Cody                                           06/02/2009
       38.    Botello                 David                                          04/07/2007
       39.    Bovanizer               Brian K.                                       01/16/2009
       40.    Bovanizer               Karen A.                                       01/16/2009
       41.    Boyle                   James                                          05/12/2009

                                                                                      1/31/2019
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       42.    Bradfield           Annette                              12/25/2006
       43.    Bradley             Cynthia                              11/23/2006
       44.    Brown               Bertha                               04/17/2009
       45.    Brown               Chante                               12/19/2007
       46.    Brown               Joshua                               12/31/2008
       47.    Brown               Jovan                                10/03/2007
       48.    Brown               Samantha                             02/01/2009
       49.    Browning            Stephani                             01/21/2008
       50.    Brown-Washington    Patricia                             09/05/2008
       51.    Brzozowski          Diane M.                             02/28/2009
       52.    Brzozowski          Jennifer A.                          02/28/2009
       53.    Burke               Christina                            03/09/2009
       54.    Burley              William                              12/19/2008
       55.    Campbell            Frankie L.                           04/15/2009
       56.    Cantu               Kristopher                           09/10/2008
       57.    Carrisales          Patrick                              11/25/2003
       58.    Celestine           Glory                                12/31/2005
       59.    Champagne (Decd.)   Dustin                                5/25/2007
       60.    Charly              Sallie                               03/25/2009
       61.    Childs              Jewell                               07/01/2008
       62.    Clapper             James G.                             04/20/2007
       63.    Clark               Teresse                              10/17/2005
       64.    Clem                Paul                                 05/08/2006
       65.    Cochran             Kim                                  02/11/2005
       66.    Coleman             Anthony                              07/11/2009
       67.    Collins             Daryl                                12/09/2007
       68.    Comens              Pamela                                   Dec-07
       69.    Cook                Julie R.                             12/31/2006
       70.    Cook                Reina                                12/29/2006
       71.    Coviello            Rebecca                              04/09/2008
       72.    Cuesta              James                                03/13/2005
       73.    Curry               Derek                                08/05/2005
       74.    Cyr                 Elizabeth                            05/03/2007
       75.    Dalsass             Donna                                02/11/2007
       76.    Dardano             Joanne                               12/12/2008
       77.    Davidson            Betty J.                             09/23/2007
       78.    Davis               Tajanae                              04/27/2007
       79.    Davis               Terry                                08/19/2003
       80.    Davis               Tiffaney                             08/15/2004
       81.    Delasso             Seiarra                              01/23/2009
       82.    Delp                Amanda                               05/27/2008
       83.    Dent                Anthony                              12/11/2008
       84.    Dent                Nell                                 12/30/2005


                                                                         1/31/2019
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       85.    Dinar             Joseph                                 10/24/2003
       86.    DiSchiavi         Mario                                  12/10/2008
       87.    Dixon             Ashley                                 01/10/2007
       88.    Doll              Lyndsey                                11/30/2008
       89.    Donato            Joann                                  07/18/2005
       90.    Dorsey            Alonda                                 07/06/2009
       91.    Dorsey-Foster     Amanda                                 07/06/2009
       92.    Doyle             Lisa M.                                02/05/2008
       93.    Dullen            Ryan                                         2004
       94.    Dziedzic          Tommy                                  12/21/2005
       95.    Earnest           Crystal                                04/22/2005
       96.    Earnest           Gregory                                04/22/2005
       97.    Earnest           Jessie                                 04/22/2005
       98.    Earnest           Tyler                                  04/22/2005
       99.    Eaton             Mark L.                                06/02/2006
       100.   Edwards           Andre                                  03/07/2007
       101.   Edwards           Franklin                               09/16/2005
       102.   El-cheikh         Sheryl                                 09/10/2001
       103.   Enders            Kathryn                                09/25/2008
       104.   Eubank            Betty                                  08/09/2007
       105.   Evans             Daniel                                 10/04/2002
       106.   Fallon            Patrick                                10/30/2001
       107.   Farley            Wanda                                  02/02/2009
       108.   Farrar            Julius                                 03/09/2004
       109.   Faugno            Nicole                                      Jul-06
       110.   Fedoris           Joe                                    09/15/2007
       111.   Fettig            Austin                                 07/15/2003
       112.   Fettig            Howard J.                              07/15/2003
       113.   Fettig            Jamie                                  07/15/2003
       114.   Fischer           Darrin                                 05/26/2003
       115.   Fitzpatrick       Aliza                                  10/30/2004
       116.   Floyd             Rayland                                02/02/2009
       117.   Foerster          Wilson I.                              04/18/2000
       118.   Fonseca           Nina                                   02/07/2006
       119.   Forbes            Andre                                  05/23/2004
       120.   Forrest           Janice                                 06/07/2007
       121.   Frazier           Brenda                                 06/25/2007
       122.   Frimel            Carol                                  08/27/2007
       123.   Fritze (Decd.)    Dean                                   01/04/2009
       124.   Fritze (Decd.)    Minerva                                01/04/2009
       125.   Geisleman         Laura                                  10/15/2007
       126.   Gentry            Rodney                                 01/31/2008
       127.   George            Nancy R.                               10/14/2007


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       128.   Gibson            Demetria                               02/25/2008
       129.   Gilliam           Edward                                 11/24/2008
       130.   Gillis            Michael                                10/23/2007
       131.   Glasper           Dandra                                 02/12/2006
       132.   Glenn             Rodney                                 05/30/2009
       133.   Gless             Todd                                   07/07/2006
       134.   Godwin, Jr.       James                                  07/17/2009
       135.   Gonzalez          Jesus                                  03/04/2005
       136.   Goodman           Nancy                                  07/01/2009
       137.   Gottshall         Sonia                                  09/21/2007
       138.   Grant             Chas                                   08/26/2006
       139.   Green             Chasity                                04/09/2006
       140.   Green             Sederick                               05/27/2008
       141.   Green             Thomas                                 06/05/2006
       142.   Hackbarth         Brant                                  12/14/2003
       143.   Hadley            Melissa                                01/29/2009
       144.   Hair              Danischa                               05/27/2007
       145.   Hale              Howard                                 02/13/2009
       146.   Hamm              Loretta                                06/09/2001
       147.   Hamrick           Sharlie                                03/11/2006
       148.   Harl              Kenneth J., Sr.                        11/21/2008
       149.   Harrington        Bill                                   12/23/2006
       150.   Harrington        Richard J.                             12/27/2007
       151.   Harris            Vickie C.                              12/04/2004
       152.   Harvey            Steven                                 05/28/2008
       153.   Hauser            Ryan                                   01/28/2009
       154.   Hayes             Nathan W.                              01/25/2007
       155.   Haynes            Robin                                        2008
       156.   Healy             William                                05/16/2009
       157.   Henderson         Bonnie                                 02/05/2009
       158.   Hendron           Robin                                  03/28/2006
       159.   Henzel            Jessica                                10/09/2005
       160.   Hernandez         Aida                                   06/08/2007
       161.   Hernandez         Rosalia                                06/16/2009
       162.   Hester            Reginald                               05/22/2005
       163.   Hester            Rosie                                  05/22/2005
       164.   Hester            Terri                                  05/22/2005
       165.   Higgins           Shatora                                03/05/2005
       166.   Hightower         Tracy                                  11/24/2008
       167.   Hill              Adam                                   10/13/2005
       168.   Hill              David                                  07/20/2008
       169.   Hillin            Misty                                  08/08/2008
       170.   Hiney             Christine                              09/11/2007


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       171.   Hlavac            Janice                                 05/15/2007
       172.   Holcomb           Supreina                               05/27/2007
       173.   Holub             Jessica                                      2009
       174.   Hopkins           Gary R.                                04/02/2008
       175.   Hosfelt           Helene                                 04/28/1999
       176.   Hutchings         Kevin                                  01/05/2006
       177.   Hvizda            Paulette                               06/10/2009
       178.   Isley             Randy J., Sr.                          12/23/2003
       179.   Jackson           Christine                              09/01/2005
       180.   James             Amber                                  08/10/2007
       181.   Jankauskas        Roseanne                               02/02/2009
       182.   Jaskula           Joseph                                 11/21/2007
       183.   Jimenez (Decd.)   Jordan                                 01/23/2007
       184.   Johnson           Ennis                                  08/15/2008
       185.   Johnson           Kevin                                  01/22/2008
       186.   Johnson           LaShauna                               04/27/2007
       187.   Johnson           Miguel                                 10/18/2007
       188.   Johnson           Shanga                                 07/06/2009
       189.   Jones             Antoinette                             06/15/2008
       190.   Jones             Jimmy                                  11/12/2007
       191.   Jones             Madeline S.                            01/23/2008
       192.   Jones             Precila                                06/28/2000
       193.   Joseph            Kevin                                  03/01/2005
       194.   Josey             Barbara                                02/27/2008
       195.   Kasey             Dallas                                 11/06/2004
       196.   Kearney           LaToya                                 05/27/2008
       197.   Keyes             Ronnie N.                              11/23/2006
       198.   Kilbourne         Mary Ann                               07/06/2007
       199.   King              Dominque                               08/17/2001
       200.   King              Jeanette                               08/17/2001
       201.   King              Keith                                  11/12/1999
       202.   Kiziah            Sandra K.                              04/11/2008
       203.   Kletzien          Emily                                  03/04/2005
       204.   Knight            Justin                                 10/07/2006
       205.   Konz              Susan (for dec. David Konz)            05/20/2002
       206.   LaDow             Charles                                01/01/2004
       207.   LaFevor           Kimberly                               10/23/2008
       208.   Lambert           Jennifer H.                            08/30/2008
       209.   Lamon             Eric A.                                01/24/2007
       210.   Landry            Eugene                                 04/10/2006
       211.   Lasley            Julie                                  08/29/2006
       212.   Lavergne          Keisha                                 08/18/2007
       213.   Lawkin            Lyndon                                 07/14/2007


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       214.   Lawrimore          Gina                                  09/13/2012
       215.   Lefever            Troy                                  08/15/2005
       216.   Lehman             Sylvia                                08/04/2006
       217.   Lewis              Gloria                                02/01/2002
       218.   Likens             Thurman P., III                       03/13/2009
       219.   Limon              Juan Carlos                           05/04/2008
       220.   Linden             Michael                               05/09/2006
       221.   Little             Amelia                                12/05/2006
       222.   Little             Leawaiia                              08/12/2008
       223.   Lloyd              Robert J.                             02/15/2003
       224.   Lonzo              Calvin                                08/02/2005
       225.   Lynch              Melinda                               11/24/2002
       226.   MacLaren           Nathan                                05/15/2009
       227.   Magee              Juahem                                08/25/2007
       228.   Manuel-Collins     Yolanda                               12/09/2007
       229.   Marquiss           Amy                                   05/24/2008
       230.   Martinez           Louella                               03/15/2008
       231.   Masternak          Becky                                 10/12/2004
       232.   Mastrich           Debra                                 12/01/2001
       233.   Mathis             Steve                                 11/14/2007
       234.   Mayr               Mark                                  03/08/2009
       235.   Mayrant            Tyisha                                01/16/2009
       236.   Mays               Joshua                                01/04/2007
       237.   McBrayer           Anthony                               11/11/2006
       238.   McCarthy           Shawn                                 06/07/2009
       239.   McCarthy (Decd.)   Cory                                  10/07/2008
       240.   McClain            Wendy                                 05/07/2007
       241.   McCluney           Demetria                              03/20/2007
       242.   McClure            Katrina                               11/15/2008
       243.   McDonough          John                                  03/03/1998
       244.   McGhee             Gina                                  01/03/2009
       245.   McLeod             Jacoby                                01/20/2000
       246.   McLeod             Scott                                 01/20/2000
       247.   McMillin           Juliet                                11/14/2007
       248.   Merritt            Ruby                                  03/19/2008
       249.   Mikeska            Christopher                           12/17/2007
       250.   Milam              Mark                                  02/27/2008
       251.   Miles              Lisa                                  02/28/2009
       252.   Miller             Ariel                                 09/06/2008
       253.   Miller             Grace                                 03/29/2008
       254.   Miller             Jennifer L.                           05/18/2008
       255.   Miller             Jessie                                08/26/2006
       256.   Miller             Star                                  10/21/2007


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       257.   Monroe            Jerry                                  09/20/2001
       258.   Moore             Wilbur                                 11/12/2007
       259.   Morales           Jason                                  09/29/2006
       260.   Morgan            Glenda                                 12/11/2008
       261.   Morris            Lillian                                06/10/2009
       262.   Morris            Sonya                                  06/20/2001
       263.   Morrison          Sheryl                                 05/07/2008
       264.   Morrison          Thomas                                 05/07/2008
       265.   Mortin            Phillip                                07/16/2008
       266.   Morton            Philip G.                              07/16/2008
       267.   Mull              Bruce W.                               09/21/2008
       268.   Mungo             Ernest                                 12/07/2007
       269.   Murray            Shirley                                07/02/2004
       270.   Murrell           Tiffany L.                             02/15/2006
       271.   Murry             Kienda                                 05/20/2009
       272.   Myers             Rachel                                 07/23/2005
       273.   Nash              Jenifer                                04/01/2007
       274.   Nelson            Richard L.                             10/01/2007
       275.   New               Michael                                01/29/2009
       276.   Nichols           Michael                                06/12/2006
       277.   Niemisto          Diane                                  06/12/2009
       278.   Norwood           Dijionay                               08/25/2007
       279.   Norwood           Sumer                                  08/25/2007
       280.   O’Bryan           Brandon                                01/01/2007
       281.   Olufs             Courtney                               09/25/2008
       282.   Olufs             Joshua                                 09/25/2008
       283.   Owens             Evelyn L.                              09/13/2004
       284.   Owens             Jerome                                 01/14/2009
       285.   Owens, Sr.        Perry                                  08/17/2001
       286.   Parker            Andy                                   05/21/2004
       287.   Parker            Randy                                    Fall 2008
       288.   Patrick           Mary                                   12/11/2004
       289.   Patterson         Richard                                06/10/2009
       290.   Perkins           Crystal                                09/16/2008
       291.   Perlstone         Paul                                   03/30/2007
       292.   Perrino           Alyssa                                 02/16/2007
       293.   Perrino           Joseph                                 02/16/2007
       294.   Perrino           Kathleen                               02/16/2007
       295.   Perymon           Sinator                                09/01/2000
       296.   Peters            Merle                                  01/06/2009
       297.   Phillips          Ami                                    05/24/2009
       298.   Phillips          Okeshia                                01/15/2008
       299.   Pier              David                                  01/16/2005


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       300.   Pierce            Donald E.                              09/07/2005
       301.   Polanowski        Jennifer                               03/08/2009
       302.   Polanowski        Mark                                   03/08/2009
       303.   Pope              Lloyd A.                               11/04/2004
       304.   Pope              Twanna                                 10/25/2001
       305.   Portale           Phil                                   08/20/2007
       306.   Prayleau          Priscella                              01/16/2009
       307.   Pritchett         John L.                                02/10/2004
       308.   Pruski            Alexander                              10/13/2007
       309.   Rahman            Minimiah W.                            05/06/2008
       310.   Ramirez           Melissa                                12/20/2007
       311.   Ramsden           Jerry D.                               05/04/2008
       312.   Randolph          Annie                                  08/09/2007
       313.   Ray               Kristi                                 10/10/2008
       314.   Reed              Joy                                    09/23/2008
       315.   Reeves            Curtis                                 06/09/2002
       316.   Renckert          Michael                                10/27/2006
       317.   Rhoades           Brigette                               03/14/2007
       318.   Rhodes            Marian                                 11/14/2007
       319.   Rhyner            Allen                                  03/04/2005
       320.   Richardson        Jerry                                  07/08/2009
       321.   Richardson        Steve                                  07/02/2004
       322.   Ricketts          Byron                                  03/01/2006
       323.   Riley             Jibreel                                06/18/2007
       324.   Rivers            Antonio                                03/28/2005
       325.   Roberts           Valare                                 03/23/2007
       326.   Robinson          Diane                                  06/19/2008
       327.   Robinson          Laquinda                               06/28/2009
       328.   Rodman            Casey D.                               01/05/2009
       329.   Rodney            Van                                    02/05/2009
       330.   Rogers            Kevin                                  02/13/2008
       331.   Rolfes            Todd                                   02/28/2009
       332.   Roy               Blake K.                               03/05/2006
       333.   Rozier            Kevin                                  02/24/2008
       334.   Rubino            Gary                                   06/04/2009
       335.   Rutledge          Raeann                                 01/18/2005
       336.   Sachs             Andrea                                 08/01/2008
       337.   Salazar           Ontonio                                03/05/2008
       338.   Samuels           Sandra                                 03/19/2008
       339.   Sanchez           Alejandro                              10/13/2007
       340.   Sandel            Kelly                                  04/25/2009
       341.   Sanders           Felicia                                01/14/2009
       342.   Sanderson         Sheila                                 04/14/2005


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       343.   Sasser             Stephanie                             11/02/2008
       344.   Sauseda            Michael                               12/08/2008
       345.   Scherer            Claudette                             05/14/2006
       346.   Schnieter          Marianne                              11/26/2007
       347.   Schultz            Lisa                                  04/16/2008
       348.   Selby              Mathew                                05/13/2009
       349.   Shaffer            Maurice                               02/14/2009
       350.   Shaffer (Decd.)    Lloyd                                 02/14/2009
       351.   Sharon             Debra                                 08/16/2008
       352.   Shaw               Tony                                  01/28/2006
       353.   Sheldon            Connie M.                             07/11/2007
       354.   Sherman            Chelsea                               05/21/2006
       355.   Sherman            Emily                                 05/21/2006
       356.   Silk-Miller        Colleen                               07/04/2007
       357.   Sills              Jerome                                11/22/2004
       358.   Simecek            Dawn                                  11/02/2007
       359.   Simmonds           Alner                                 07/02/2004
       360.   Simmons            David                                 03/07/2006
       361.   Simpson            Lynette                               01/02/2009
       362.   Sims               Charles Arthur                        05/08/2005
       363.   Sims               Janice                                06/01/2001
       364.   Singleton          Beulah                                01/13/2007
       365.   Singleton          Billy                                 01/13/2007
       366.   Sinnett            Kasie                                 03/28/2004
       367.   Sinnokrot          Mamoon                                12/02/2005
       368.   Skelton            Mark                                  12/31/2005
       369.   Slade              Austin                                03/29/2006
       370.   Smart              Kayla                                 10/01/2005
       371.   Smith              Denise                                07/21/2007
       372.   Smith              Mark                                  02/13/2009
       373.   Smith              Mildred                               04/05/2008
       374.   Smith              Monica                                07/20/2002
       375.   Smith              Ruth                                  08/16/2006
       376.   Smith              Steve                                 04/23/2005
       377.   Speed              Kimberly                              06/18/2009
       378.   Stafford (Decd.)   Theodore                              02/25/2007
       379.   Starlin            Marvella                              01/18/2006
       380.   Stephenson         Shakiria                                    2007
       381.   Stevenson          Kim M.                                07/28/2004
       382.   Stewart            Annette                               08/20/2007
       383.   Stiens             Karen                                 03/01/2008
       384.   Tate               Rasheed                               07/12/2002
       385.   Taylor             Cynthia L.                            02/01/2006


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       386.   Taylor             Mike                                   12/27/2000
       387.   Tenner             Tiffany                                04/11/2008
       388.   Theakos            Jeannine E.                            02/14/2009
       389.   Thomas             Ashley                                 04/13/2009
       390.   Thomas             Mary                                   02/11/2009
       391.   Thompson-Warren    Kesha                                  06/02/2007
       392.   Tilley             Joan                                   07/08/2008
       393.   Tipton             Kristina                               09/12/2007
       394.   Tittle             James                                  05/29/2009
       395.   Tollefson          Mary Ann                               10/15/2007
       396.   Tooley             Camille                                01/10/2009
       397.   Tousoulis          Denise                                 05/25/2009
       398.   Tousoulis          John                                   05/25/2009
       399.   Trice              Matthew J.                             09/05/2005
       400.   Tyler              Lora                                   09/15/2004
       401.   Tyler              Theresa                              Summer 2008
       402.   Valcarce-Stuart    Rosaura                                05/20/2008
       403.   Vallee             Candus M.                              02/14/2008
       404.   Vines              Sarah                                  10/19/2003
       405.   Wagley             Kelly                                  02/26/2008
       406.   Walker             Thomas                                 07/05/2009
       407.   Washington         George                                 02/08/2008
       408.   Washington-Hardy   Eloise                                 05/08/2008
       409.   Watson             Marcus B.                              11/20/2006
       410.   Wells              Fredrick                               03/18/2008
       411.   Werth              Regina                                 04/18/2007
       412.   Whalen             Pam                                    02/13/2006
       413.   Whatley            Susan                                  05/29/2009
       414.   Wheeler            Meghan                                 03/13/2009
       415.   Wheeler            Vickie                                 06/14/2007
       416.   Whitfield          Rose                                   12/25/2007
       417.   Wiesjahn (Decd.)   Rachel                                 08/28/2008
       418.   Wilkins            Damion                                 12/05/2006
       419.   Wilkins            Rolando                                12/05/2006
       420.   Williams           Brittany                               06/07/2009
       421.   Williams           Claudia                                06/07/2009
       422.   Williams           Linda P.                               11/17/2007
       423.   Wilson             Candis M.                              10/07/2005
       424.   Wilson             Jazmin                                 030/3/2009
       425.   Wilson             Patrick C.                             01/15/2001
       426.   Wisdom             Sharon L.                              09/07/2008
       427.   Wisniewski         Edward                                 10/22/2007
       428.   Wooten             William                                05/19/2009


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       429.   Worsham           John                                   08/25/2005
       430.   Wrigley           Joyce                                  07/31/2008
       431.   Writt             James                                  03/28/2009
       432.   Wyatt             Lisa                                   12/19/2008
       433.   Young             Ashley                                 04/03/2008
       434.   Youngbear         James                                  07/29/2007
       435.   Youngbear         Robert                                 07/27/2007
       436.   Zayas             Ricardo                                05/26/2007
       437.   Zayas             Victor                                 05/26/2007
       438.   Zenon             Shericia T.                            06/27/2005
       439.   Zimmer            Katherine                              08/06/2005




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        The Cooper Firm and Beasley, Allen, Crow, Methvin, Portis & Miles, P.C. –
                            Pre-Closing Accident Plaintiffs

(1) Vickey Meyers, as personal representative of the estate of Karen King (deceased);
(2) Larry A. King, as personal representative of the estate of Hannah King; and
(3) Rose Thompson, as personal representative of the estate of Ter’iel Thompson (deceased)
